Ignacio Hiraldo

From:                  Ignacio Hiraldo <ijhiraldo@ijhlaw.com> on behalf of Ignacio Hiraldo
Sent:                  Tuesday, May 25, 2021 9:57 AM
To:                    Tony Buzzard; Elisa Salmon
Cc:                    David M. Wilkerson; Manuel Hiraldo; Ignacio Hiraldo
Subject:               Service of Court Documents - Beard v. John Hiester Chevrolet, LLC - 5:21-cv-00173-
                       D
Attachments:           Hiester - First Request for Admissions.pdf; Hiester - First Request for Production.pdf;
                       Hiester - First Set of Interrogatories.pdf; Hiester - Plaintiff's Initial Disclosures.pdf




 Court:                                      United States District Court for the Eastern District of
                                             North Carolina

 Case Number:
                                             5:21‐cv‐00173‐D
 Case Style:                                 Beard v. John Hiester Chevrolet, LLC

                                                     Plaintiff’s First Set of Document Requests
 Title of each document served:                      Plaintiff’s First Set of Interrogatories
                                                     Plaintiff’s First Set of RFAs
                                                     Plaintiff’s Initial Disclosures
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